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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     BOUNHOME SINGHARATH
 6

 7

 8                         IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT of CALIFORNIA
10
                                                    )   Case No.: Case No.1:12-CR-0325 AWI
11   UNITED STATES OF AMERICA,                      )
                                                    )
12                 Plaintiff,                       )   STIPULATION AND ORDER TO
                                                    )   CONTINUE CHANGE OF PLEA
13       vs.                                        )   HEARING
     BOUNHOME SINGHARATH                            )
14
                                                    )
                   Defendant                        )
15
                                                    )
16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
17   ANTHONY ISHII AND KAREN ESCOBAR, ASSISTANT UNITED STATES ATTORNEY:
18          COMES NOW Defendant, BOUNHOME SINGHARATH, by and through his attorney
19   of record, DAVID A. TORRES hereby requesting that the Change of Plea hearing currently set
20   for Monday, January 27, 2014 be continued to Monday, February 24, 2014.
21          Mr. Singharath currently resides in Las Vegas, NA. I have reviewed the plea agreement
22   with my client however, I would like to have an interpreter present with my client when he signs
23   said plea agreement. I am requesting a continuance to make arrangements for the interpreter. I
24   have spoken to AUSA Karen Escobar, and she has no objection to continuing the Change of Plea
25   hearing.




                                       Summary of Pleading - 1
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 1           The parties also agree the delays resulting from the continuance shall be excluded in the

 2   interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).

 3   //

 4   //

 5           IT IS SO STIPULATED.

 6                                                                Respectfully Submitted,

 7   DATED: 1/23/14                                               /s/ David A Torres     ___
                                                                  DAVID A. TORRES
 8                                                                Attorney for Defendant
                                                                  [DEFENDANTS NAME]
 9

10
     DATED:1/23/14                                                /s/Karen Escobar___ ________
11                                                                KAREN ESCOBAR
                                                                  Assistant U.S. Attorney
12

13
                                                 ORDER
14

15
             IT IS SO ORDERED that the Change of Plea hearing be continued to February 24,
16
     2014.
17

18   IT IS SO ORDERED.

19   Dated: January 23, 2014
                                                 SENIOR DISTRICT JUDGE
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                                        Summary of Pleading - 2
